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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,

        v.
                                                         Criminal No. 16-cr-10343-ADB
MICHAEL J. GURRY, RICHARD M. SIMON,
SUNRISE LEE, JOSEPH A. ROWAN, and JOHN                   ORAL ARGUMENT REQUESTED
KAPOOR,

        Defendants.


                      DEFENDANT JOSEPH A. ROWAN’S MOTION
                        TO AMEND CONDITIONS OF RELEASE

       Defendant Joseph A. Rowan (“Rowan”) moves that the Court amend his conditions of

release, so that he is released on an unsecured bond of $100,000, and the $100,000 cash he has

posted with the Court is returned forthwith.

       When Rowan was first arrested in Panama City in 2016, the local U.S. probation

department thought he should be released on personal recognizance, as is the custom in Panama

City, but the Boston USAO insisted that a secured bond be posted because of the severity of the

charges. Thus, the Court required that he post $100,000 surety.

       Since then, Rowan’s finances and his family’s finances have significantly diminished.

For the past three years, he has had minimal earnings, selling cleaning supplies. In October

2018, Hurricane Michael devastated Panama City, ruining numerous buildings, including

Rowan’s family residence. Rowan, his wife and their four children live with his mother-in-law

while waiting for the overburdened construction contractors to rebuild their house, until recently

when they moved into a motorhome on their property. The Hurricane also devastated the local

economy. Rowan and his wife invested in three small rental properties, which have minimal to

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no equity. Rowan’s wife is a practicing lawyer and her business suffered because of the

Hurricane and the result of the Rowan’s trial.

       Insys, Rowan’s former employer, has defaulted on paying $597,000 of his legal fees,

which has placed further strains on the family finances.

       Rowan is a dedicated husband and father, with four children in high school and middle

school. He is well-integrated into his community through family, coaching, church, and

friendships. His mother, brother and wife’s family live in the area of Panama City, Florida. He

is not a risk of flight. He has been a model supervisee throughout his pretrial release.

                                                      Respectfully submitted,

                                                      Joseph A. Rowan
                                                      By his counsel,


                                                      /s/ Michael Kendall
                                                      Michael Kendall (BBO # 544866)
                                                      Alexandra I. Gliga (BBO # 694959)
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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

       I certify that I have conferred with counsel for the Government in a good faith attempt to
resolve or narrow the issue raised by this motion.




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on October 16, 2019.


                                                     /s/ Michael Kendall
                                                     Michael Kendall




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